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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  FORT SMITH DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                                     No. 2:04-CR-20006

SCOTT JAMES EIZEMBER                                                             DEFENDANT

                                     OPINION AND ORDER

       A mandate (Doc. 76) from the United States Court of Appeals for the Eighth Circuit was

entered in this case on September 11, 2019, vacating Defendant’s conviction and sentence on

Count 3 of the indictment and remanding to this Court for further proceedings. On September 16,

2019, the Government filed a motion (Doc. 77) to dismiss Count 3 of the indictment against

Defendant. The deadline to respond has not passed, but no response is necessary. The motion will

be granted.

       Count 3 charged Defendant with possessing, using, and brandishing a firearm during a

crime of violence. The parties agreed and jointly moved on appeal for summary reversal of the

conviction on Count 3 and remand in light of the decision of the United States Supreme Court in

United States v. Davis, --U.S.--, 139 S.Ct. 2319 (2019). As argued by the parties in their joint

motion to the Eighth Circuit Court of Appeals and by the Government in the instant motion, the

underlying crime for Count 3—kidnapping in violation of 18 U.S.C. § 1201(a)—can no longer be

considered a “crime of violence.”

       Following the dismissal of Count 3, resentencing of Defendant will be necessary. The

United States Probation Office will be directed to prepare an amended presentence investigation

report and the parties will be permitted to file objections to that report.

       IT IS THEREFORE ORDERED that the motion (Doc. 77) is GRANTED and Count 3 of



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the indictment (Doc. 1) against Defendant Scott James Eizember is DISMISSED.

      IT IS SO ORDERED this 17th day of September, 2019.


                                                       /s/P. K. Holmes, ΙΙΙ
                                                       P.K. HOLMES, III
                                                       U.S. DISTRICT JUDGE




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